The marital problems of Gwladys C. Wallace, plaintiff, and James Macauley Wallace, Jr., defendant, have been subjects of litigation since 1945. At the present time, defendant has obtained a decree of divorce in Florida, has remarried and is residing there, while plaintiff has obtained a decree from the Court of Common Pleas of Montgomery County in this Commonwealth, sitting in equity, declaring that defendant's divorce "is without legal force or effect and is not entitled to lawful recognition in the Commonwealth of Pennsylvania" and enjoining defendant from jeopardizing plaintiff's property rights as a result of the Florida divorce. It is this decree from which defendant has appealed.
The parties were married on August 12, 1944, in Philadelphia. Prior to that time both of them had resided in Montgomery County with their respective parents. Immediately after the wedding they went on a short honeymoon before taking up residence in Florida where defendant was assigned as an ensign in the U.S. Navy. They lived in various apartments there until August 26, 1945, when plaintiff left defendant and returned to Pennsylvania. On October 29, 1945, defendant started suit for divorce in Florida, notice of which was properly served on plaintiff. She did not appear there but instead filed this bill in equity to restrain defendant from prosecuting the divorce suit and to prevent his remarrying. At a hearing for a preliminary injunction, defendant appeared specially to question the jurisdiction of the court, asserting that he was domiciled in Florida. That petition was dismissed, and on November 29, 1945, a preliminary *Page 407 
injunction was granted which was, however, declared a nullity and dissolved on January 5, 1949, because plaintiff had failed to post a bond as required by the Act of May 6, 1844, P. L. 564 and Equity Rule 39. In the meantime a final decree of divorce was entered in Florida on March 6, 1946, as a result of plaintiff's failure to enter an appearance there.
With the record in that condition the bill in equity came on for final hearing before the learned court below. That court held that at the time defendant obtained his divorce in Florida he was domiciled in Pennsylvania and that as a result the divorce was of no effect here. It further held that since he had in fact obtained the divorce and remarried the specific relief prayed for could not be granted but that under the general prayer it could enjoin defendant from doing anything in Pennsylvania to affect plaintiff's marital status or her property rights incident to that relationship. A decree was then entered to that effect.
In Smith v. Smith, 364 Pa. 1, 70 A.2d 630, we enunciated the rule that ". . . an injunction may only be granted where the spouse has not established a bona fide domicile in the state in which the divorce is sought." Domicile in turn depends on residence plus the intent to make the place a permanent home:Dorrance's Estate, 309 Pa. 151, 165, 163 A. 303. Since there can be no question but that defendant has resided in Florida since August of 1944, the sole issue is whether he had the requisite intent to establish a domicile there.
The Chancellor, apparently relying on his opinion on the petition to dismiss for want of jurisdiction, made no findings of fact on this issue in his adjudication except that defendant was domicileel in Pennsylvania at the time he filed the divorce action in Florida. This, of course, was simply a deduction from the evidence and where the ultimate fact in question is purely *Page 408 
the result of reasoning, this Court is not bound by the finding but is competent to reach its own conclusions: Smith v. Smith, supra.
At the outset plaintiff is met with the principle that a decree of divorce of a sister state is prima facie valid and the burden is on the person attacking it to overcome the presumption of validity: Com. ex rel. Cronhardt v. Cronhardt,127 Pa. Super. 501, 193 A. 484. A review of the record convinces us that plaintiff failed to meet that burden.
The evidence shows that defendant and plaintiff arrived in Florida in August, 1944, and lived in various apartments of their own choosing. From that date on his only residence has been maintained in Florida. Shortly after his arrival there he stated that he liked it there and began thinking of it as his permanent home. He made inquiries into the purchase of a house and the possibilities of obtaining employment there. On September 13, 1945, he filed a formal declaration of intent to make Florida his permanent home. On September 29, 1945, he registered to vote in Florida and ten days later he transferred his bank account there. Suit for divorce was filed October 29, 1945, and thereafter in February of 1946, he transferred his church membership to Florida, and his automobile operator's license in June 1946. Upon his discharge from the Navy he became a member of the Seventh Naval District Organized Reserve located in Florida. He is now a member of the Florida bar but at the present time has been recalled to active duty in the Navy. He still keeps only his Florida residence.
The only evidence which might be construed to support plaintiff's position is that she and defendant made inquiries about the purchase of a farm in Maryland and that his mother managed some of his securities in Pennsylvania under a power of attorney. Certainly *Page 409 
that evidence is of little value compared to the mass of facts showing his intention to maintain his home in Florida. And when those facts are coupled with the presumption of the validity of the Florida divorce and his actual residence in Florida the conclusion is inescapable that defendant had established a bona fide domicile in that state.
The court below placed great reliance on the fact that many of these acts took place some time after he first took up residence in Florida and some did not occur until after the divorce proceedings were instituted. Such an argument reveals a basic misconception of the issue involved. As we stated above, we are here concerned with the question of defendant's intent to make Florida his permanent home. Intent, being purely subjective, must to a large extent be determined by the acts which are manifestations of that intent. However, it does not follow from that that the acts must all occur simultaneously with the formation of the intent. Such a conclusion would be contrary to human nature. One does not move to a new domicile and immediately change church membership, bank account, operator's license, and club memberships. Nor does he immediately select a neighborhood, purchase a home and buy furniture. All of those acts require varying degrees of consideration and as a consequence cannot be done hastily nor simultaneously. However, the fact that these things are done eventually and within a reasonable period of time is evidence that his expressions of intent were bona fide. That is precisely the case here.
In this connection see Commonwealth ex rel. v. Esenwein,348 Pa. 455, 35 A.2d 335. There the husband went to Nevada, apparently satisfied its residence requirements, received a decree of divorce and immediately left and established his domicile in Ohio. We *Page 410 
held that his act in leaving Nevada immediately after obtaining his divorce belied his previously expressed declaration of intention and consequently he had not been a bona fide domiciliary of Nevada. Here, the converse is true. All of defendant's acts are consistent with his declarations and with nothing else. He has, therefore, proven that his Florida domicile is bona fide.
The lower court also placed great stress on the fact that defendant originally went to Florida under orders of the U.S. Navy, stating in its opinion that "While in the military service the defendant was incapacitated to establish a domicile of choice." That statement is not an accurate representation of the law of this Commonwealth.
It is unquestionably true that a person acting under compulsion cannot acquire a domicile of choice but to apply that rule with inflexible rigidity would prevent anyone whose employment took him to a new jurisdiction from acquiring a domicile there. The correct application of that rule is found in Restatement, Conflict of Laws, § 21, Comment c, where it is stated: "A soldier or sailor, if he is ordered to a station to which he must go and live in quarters assigned to him, cannot acquire a domicil there though he lives in the assigned quarters with his family; for he must obey orders and cannot choose to go elsewhere. If, however, he is allowed to live withhis family where he pleases provided it is near enough to hispost to enable him to perform his duty, he can acquire adomicil where he lives." (Italics added.) In Gearing v.Gearing, 90 Pa. Super. 192, a naval officer, who was assigned to Philadelphia and expressed his intention to live there, was held to have established a bona fide domicile in that city. There, Judge LINN, later Mr. Justice LINN of this Court, said (p. 195): " `Domicile is the place in which, both in fact and intent, *Page 411 
the home of a person is established without any purpose to return to a former home; the place where he lives, in distinction from that where he transacts his business; the place where he chooses to abide, in distinction from that in which he may be for a temporary purpose; the place which he has chosen, in distinction from one to which he may be exiled or sent a prisoner, or, being in the government service, to which he is ordered. . . it is the place which the fact and the intent, combined with each other and with the law, gravitate to center in, as the home.' " Here, defendant, although ordered to duty in Florida, was allowed to live off of the post in a place of his own choosing. Hence, he was free to acquire a domicile there.
The record shows that not only was defendant capable of establishing a domicile in Florida but also that he did in fact establish it there. The Florida divorce decree was, therefore, valid and this bill in equity must be dismissed.
Decree reversed and bill dismissed. Costs to be paid by plaintiff.